         Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *
                                              *
v.                                            *         Criminal No. RDB-17-069
                                              *
HAROLD T. MARTIN, III                         *

                MOTION FOR DISCOVERY PURSUANT TO SECTION 4
               OF THE CLASSIFIED INFORMATION PROCEDURES ACT

       Defendant Harold T. Martin, III, through counsel, writes pursuant to Section 4 of the

Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. III, to renew his request for a

Court Order requiring the government to produce: (1) mirror images of the devices used to create

the “Library,” an electronic database created by the National Security Agency (“NSA”) which

contains some information from certain electronic storage devices seized from Mr. Martin’s

residence; and (2) mirror images of the computers containing operating systems seized from Mr.

Martin’s residence (collectively, “mirror images”). 1

                                       INTRODUCTION

       The defense renews our request for mirror images because, despite the government’s

assurances to the contrary, we have determined that the Library does not contain the functional

equivalent or near equivalent of mirror images of the electronic devices. See Ex. 1 (Affidavit of

Larry Daniel). As a result, it is impossible for us to independently review the government’s

electronic evidence or test the government’s computer forensic analysis, which is set forth in two

expert reports authored by the NSA. See Ex. 1B (Feb. 28, 2018 Report); Ex. 1C (Oct. 9, 2018

Report) (filed separately via CISO).




1
       A “mirror image” is an exact copy of a computer hard drive or external hard drive without
any data removed, missing, altered, or added.
                                                  1
         Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 2 of 8



       At the August 17, 2018 hearing, the Court ordered that we have meaningful access to the

electronic discovery. After much on-the-record discussion, it was understood that the electronic

Library made available to us at the NSA would afford us meaningful access to the electronic

discovery such that we could test the government’s expert analysis and conduct our own

independent analysis. As it turns out, we are unable to do either. Simply put, we are unable to test

or rebut the government’s evidence.

       Without mirror images or their functional equivalent, we are forced to accept the

government’s expert forensic reports at face value. This is problematic because the forensic

reports will be a centerpiece of the government’s case at trial. Adding further concern is the

government’s stated intent to provide rolling supplements to the expert reports. As it currently

stands, the defense will not know the entire substance of the reports until mere weeks, or perhaps

days, before trial. Indeed, the government recently supplemented its 16-page February 28, 2018,

forensic report with a 104-page forensic report provided on October 9, 2018—nearly two months

after the August 17, 2018, expert disclosure deadline set forth in the Court’s July 3, 2018,

scheduling Order. The government’s rolling expert report disclosures, combined with its failure

to provide the defense with the functional equivalent of mirror images, runs afoul of the Court’s

August 17, 2018, Order, the scheduling Order, Federal Rule of Criminal Procedure 16, due

process, and the repeated, on-the-record assurances of the government that it will provide the

defense with meaningful access to the electronic discovery in this case.

       Nearly a year after we first raised this issue with Judge Garbis, and more than two years

after Mr. Martin was arrested, we still have not been given the discovery we need to test and rebut

the government’s computer forensic analysis. The government, meanwhile, has spent two years

conducting its forensic analysis and is poised to continue updating its expert reports until the eve



                                                 2
         Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 3 of 8



of trial. The government’s inadequate expert disclosures make it impossible for us to effectively

prepare Mr. Martin’s defense and place the trial schedule at risk. The Court should order the

government to comply with its August 17, 2018, ruling by providing mirror images for the

defense’s review in a secure government facility. The Court should also bar the government from

producing any additional expert discovery or relying on any computer forensics analysis that it has

not already disclosed in the reports dated February 28, 2018, and October 9, 2018.

                                         BACKGROUND

       On August 17, 2018, the Court presided over a hearing to determine the scope of the

defense’s access to electronic files allegedly seized from Mr. Martin. The Court agreed that the

electronic files are relevant and helpful to Mr. Martin’s defense and that the defense must have

meaningful access to them. The sole question was whether the government’s proposed protocol

for the defense’s examination of the electronic files ensured meaningful access. See Ex. 2

(Protocol for Defense Examination of Electronic Data Seized from the Defendant).

       At the hearing, the Court stated repeatedly its intent to provide the defense with access to

the functional equivalent of mirror images, so that we may conduct an independent forensic

examination of the electronic files. See Aug. 17, 2018, Hr’g Tr. at 74:1 (“[M]irror images are

going to be produced for you.”); id. at 80:25-81:2 (“[T]he Government is providing access to

images of the digital media within the library. I interpreted that to be essentially mirror images.”);

id. at 83:19-20 (“So you have access to the mirror image . . . .”). The government, over and again,

assured the Court that its proposed protocol ensured defense access to the functional equivalent of

mirror images. See, e.g., id. at 82:14-17 (“What they’re instead getting is all of the data that is on

that device is put into the system that they will be given, and they’ll be able to see all of things

we’ve talked about, except for the content of the files . . . .”). According to the government, under



                                                  3
           Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 4 of 8



the proposed protocol, the defense would have access through the Library to “all of the data and

all of the data about that data.” Id. at 83. The only thing the Library would not contain, the

government explained, is the actual content of the files, and the defense could request particular

files or seek Court intervention to obtain them. Id.

         Based on the government’s representations, the Court granted the government’s motion

pursuant to CIPA section 4, as modified by its protocol for the defense’s examination of electronic

files. The Court acknowledged that, after traveling to the NSA to see the Library, the defense

“may not be satisfied” and, if so, could seek Court intervention under CIPA Section 4. Id. at 59;

see also id. at 63:12-13 (“The first step is for [the defense] to go out there [to the NSA] and start.”).

Finally, the Court set a deadline of September 25, 2018, for the government to produce any

classified materials, other than the twenty charged documents, which it intends to introduce at trial.

See id. at 65:2-4 (“We are not going to have rolling document production, and we’re not going to

have supplementation.”); id. at 72:17-19 (“We are not having rolling discovery. We are not having

rolling documents, and people are going to have to do their homework early here. That’s all there

is to it.”).

                                            ARGUMENT

         Upon the defense’s review of the Library with our cleared computer forensics expert, Larry

Daniel, 2 we have determined that, despite the government’s previous representations at the August

17 hearing, we have not been provided mirror images or the functional equivalent or near

equivalent of mirror images.       Because of this, we are unable to independently review the

government’s evidence, and we cannot test the government’s expert forensic reports. Moreover,

the government’s stated intent to provide rolling updates to the forensic reports have raised



2
         Mr. Daniel’s CV is attached as Exhibit 1A.
                                                   4
            Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 5 of 8



additional concerns. The government is not complying with the Court’s scheduling Order or its

clear intent to avoid “rolling document production.” The Court should order the government to

promptly produce mirror images for the defense’s review in a secured government space and bar

the government from producing or relying on any additional expert discovery.

       I.       A Trip to the NSA with Our Expert Revealed the Library’s
                Insufficiency.

       The defense only discovered the issues with the Library after traveling to the NSA with

Mr. Daniel. As explained by Mr. Daniel, upon familiarizing himself with the Library (referred to

as the “Repository” in his affidavit), he determined that the Library is “the government’s work

product.” Ex. 1 at ¶ 5. In Mr. Daniel’s words: “[T]he Repository is the summary of the

government’s forensic analysis. The Repository does not allow me to review the actual evidence.

It only allows me to review the government’s summary of the evidence.” Id. Because of this, Mr.

Daniel is in the impossible position of trying to test the government’s evidence using the

government’s work product. See id. at ¶¶ 5-6, 14. He cannot perform independent forensic

analysis or test the government’s expert reports.

       II.      Like the Government’s Experts, Our Expert Needs Access to Mirror
                Images.

       To conduct his own analysis, Mr. Daniel needs mirror images. Access to mirror images of

the 24 digital storage devices—which are the subject of the government’s expert reports—would

enable Mr. Daniel to attempt to recreate the NSA’s work and, therefore, test the conclusions in its

expert reports. See id. at ¶¶ 11-12. The NSA has mirror images of the devices and, in fact, relied

on mirror images of the devices in creating the Library. The government’s experts apparently

relied on mirror images in drafting its forensic reports. See, e.g., Ex. 1C at 24, 52, 70, 73, & 91.




                                                    5
         Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 6 of 8



Providing copies of the mirror images for the defense’s review, in a suitable government-

controlled space, is only fair and would not be logistically difficult.

       III.    Under the Current State of Affairs, the Defense Does Not Have Access
               to Critical Evidence.

               A. We Cannot Visualize the Contents of Storage Devices Where
                  the Charged Documents Were Allegedly Found.

       In its October 9 expert report, the NSA included many “visualizations” of where documents

were stored in particular devices. See Ex 1 at ¶ 11; see, e.g., Ex. 1C at 24, 52, 70, 73, & 91. These

are essentially screenshots of the file directories on Mr. Martin’s devices. We cannot see them or

recreate them under the government’s protocol. The Library that we have access to is a black

screen with a blinking cursor. We cannot see the file structure. The government can and has

produced compelling images of the file structure in its expert report.            These images or

visualizations are critical to the government’s case at trial, as it will presumably argue that Mr.

Martin knowingly possessed national defense information because his personal files (e.g., resume,

graduate thesis) were saved in close proximity to files containing alleged national defense

information. To bolster this argument, the government will show the jury the visualizations

contained in its October 9 expert report. With our access to digital files limited to the Library, we

have no ability to test whether the visualizations are correct or develop our own visualizations. As

Mr. Daniel explains, the “visualizations are not in the [Library], and it is not possible to create

those visualizations using the [Library].” Ex. 1 at ¶ 11. Mr. Daniel needs mirror images of the 24

digital storage devices referenced in the NSA’s forensic reports to create the visualizations.

               B. The Defense Needs Mirror Images of Mr. Martin’s
                  Computers that Contain Operating Systems.

       Mr. Daniel also needs mirror images of the computers containing operating systems seized

from Mr. Martin’s residence. These mirror images are “critical to [his] analysis,” because

                                                  6
         Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 7 of 8



operating systems (such as Microsoft Windows for a PC) contain a “wealth of information about

files on connected storage devices.” Id. at ¶¶ 8-10. This critical information is not in the Library.

For example, operating systems such as Microsoft Windows store unique information about files,

including when the computer accessed a file, who accessed the file, when a storage device was

connected to the computer, and the program used to open and view the contents of the file. Id. at

¶ 9. All of this information is crucial to Mr. Martin’s defense, but none of it is in the Library. Id.

       On a more technical level, we identified a number of computer artifacts at the August 17

hearing that we expected to see in the Library and that our expert needed access to for his

independent analysis. In particular, we read into the record that we needed operating system

registry, jump lists, user assist, unallocated space, memory or pagefile.sys, dump files, web history,

shell bags, prefetch, compound files, SQL databases, links data, data carving, events logs, volume

shadow copes, Microsoft Office document metadata, and meta carving. See Aug. 17, 2018, Hr’g

Tr. at 80:9-14. None of these computer artifacts, however, is in the Library. Ex. 1 at ¶¶ 8-10; see

also Ex. 3 (Sept. 5, 2018 Email from AUSA Myers).

       IV.     The Defense’s Computer Expert Cannot Move Forward.

       As it currently stands, Mr. Daniel cannot do any of the crucial tasks he has been retained

to do. Ex. 1 at ¶ 2. He cannot conduct his own independent forensic analysis. Id. He cannot test

the conclusions contained in the government’s expert reports.          Id.   Moreover, because the

government intends to continue supplementing its expert reports without limit, Mr. Daniel is not

even guaranteed sufficient time to test the expert reports and relay his findings to defense counsel

prior to trial. If the Court does not intervene, Mr. Martin will be forced to go to trial without a

complete understanding of the government’s evidence or the opportunity to test and rebut it. The

Court cannot tolerate such a result. The Court should order the immediate production of mirror



                                                  7
        Case 1:17-cr-00069-RDB Document 162 Filed 11/13/18 Page 8 of 8



images of the devices used to create the Library and mirror images of the computers containing

operating systems seized from Mr. Martin’s residence.

                                       CONCLUSION

       For the reasons stated above, the Court should order the government to immediately

produce (1) mirror images of the devices used to create the Library and (2) mirror images of the

computers containing operating systems seized from Mr. Martin’s residence. The Court should

also bar the government from producing or relying on any additional expert discovery.



                                            Respectfully submitted,

                                            /s/

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                                                  8
